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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

RENEE ZINSKY,                                         Civil Action No. 2:22-cv-247-MJH
          Plaintiff,
     v.                                               Judge Horan

MICHAEL RUSSIN, et al.,

                Defendant.                            JURY TRIAL DEMANDED

                             AFFIDAVIT OF MATTHEW MAMROS
       I, Mattew Mamros, hereby state the following:
       1.     I am a former insurance agent for American Income Life Insurance Company and
Arias Agencies.
       2.       I worked with Plaintiff, Renee Zinsky, and Defendant, Michael Russin.

       3.       I have firsthand knowledge of facts relevant to this matter.

      4.       On or about March 8, 2023, Defendant Russin threatened me via Instagram
messenger stating as follows:

                Are you prepared for violence?
                ...
                All this time you spend at 2am sending emails – do you ever think of the
                safety of your children?
                ...
                Oh no wait this isn’t the old hag
                ...
                This is the young liar


       I declare under penalty of perjury that the following is true and correct.




               April 21, 2023
       Date:
                                              Matthew Mamros
